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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

RHONDA ENGLIN,                             )
                                           )
             Plaintiff,                    )
                                           )
v.                                         )   CIVIL ACTION FILE
                                           )
DAVITA RX, LLC                             )
                                           )   NO.: __________________
                                           )
             Defendants.                   )   JURY TRIAL DEMANDED

                          COMPLAINT FOR DAMAGES

      COMES NOW Plaintiff Rhonda Englin, and files this lawsuit against

Defendant DaVita RX, LLC (“hereinafter DaVita”) and shows the following:

                           NATURE OF COMPLAINT

                                          1.

      Plaintiff brings this action to obtain full and complete relief and to redress

the unlawful employment practices described herein.

                                          2.

      This action also seeks declaratory relief, liquidated and actual damages for

Defendants’ failure to pay federally mandated overtime wages to Plaintiff in

violation of the Fair Labor Standards Act of 1938, as amended, 29 U.S.C. §201 et

seq. (hereinafter “FLSA”) during Plaintiff’s employment with Defendant DaVaita

(hereinafter referred to as the “relevant time period”).

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                          JURISDICTION AND VENUE

                                            3.

       The jurisdiction of this Court is invoked pursuant to 29 U.S.C. §216(b).

                                            4.

       The unlawful employment practices alleged in this Complaint were

committed within this District at Plaintiff’s former work location: 105 Collier Rd

NW, Atlanta, Georgia 30309-1730. In accordance with 28 U.S.C. § 1391, and LR

3, Northern District of Georgia, venue is appropriate in this Court.

                                       PARTIES

                                            5.

       Plaintiff is a citizen of the State of Georgia, and is subject to the jurisdiction

of this Court.

                                            6.

       Defendant DaVita is a foreign corporation qualified and licensed to do

business in Georgia and at all times material hereto has conducted business within

this District.

                                            7.

       Defendant DaVita may be served with process by delivering a copy of the

summons and complaint to its registered agent, Corporation Service Company,

140 Technology Parkway South, Suite 300, Norcross, Georgia 30092.


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                           FACTUAL ALLEGATIONS

                                            8.

      Plaintiff began working at DaVita in April 2005 as a Clinical Nurse

Manager and moved to the Piedmont Clinic in 2007.

                                            9.

      By 2011, Plaintiff was paid approximately $35 per hour and worked at both

the Piedmont and Loring Heights clinics.

                                         10.

      Between December 2011 and April 2013, Plaintiff worked approximately

ten (10) hours of overtime per week performing additional administrative tasks as

instructed by the Facility Administrator.

                                         11.

      When she complained to the Facility Administrator about the unpaid

overtime, he denied her request for overtime pay and attempted to pay her for some

of these extra hours using the mileage budget for the clinic.

                                         12.

      Plaintiff was never paid for these overtime hours.

                                         13.

      Plaintiff was an “employee” (as defined under FLSA §3(e), 29 U.S.C.

§203(e)) for Defendants.


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                                       14.

      Plaintiff performed non-exempt labor for the Defendants within the last

three years.

                                       15.

      Defendants employed the named Plaintiff during the relevant time period.

                                       16.

      During the relevant time period, Plaintiff worked an amount of time that was

more than forty (40) hours per workweek and was not paid the overtime wage

differential required by FLSA §7, 29 U.S.C. §207 when working more than forty

(40) hours per week.

                                       17.

      Defendant DaVita is a private employer engaged in interstate commerce, and

its gross revenues exceed $500,000 per year.

                                       18.

      Defendant DaVita is an “employer” within the definition of FLSA §3(d), 29

U.S.C. §203(d).

                                       19.

      Defendant is governed by and subject to FLSA §§ 6-7, 29 U.S.C. §§ 204,

206-207.




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                  Violation of the Overtime Wage Requirement
            of the Fair Labor Standards Act against both Defendants

                                         20.

      Defendant has violated FLSA § 7, 29 U.S.C. § 207, by failing to pay

overtime wages for time that Plaintiff worked in excess of forty (40) hours in a

workweek.

                                         21.

      Pursuant to FLSA §16, 29 U.S.C. §216, Plaintiff brings this lawsuit to

recover unpaid wages, overtime wage differential, liquidated damages in an equal

amount, attorneys’ fees, and the costs of this litigation.

                                         22.

WHEREFORE, Plaintiff demands judgment as follows:

      (a)    That this Court declare and adjudge Defendant to have violated

             Plaintiff’s rights under the FLSA;

      (b)    Enter judgment awarding Plaintiff unpaid overtime wages pursuant to

             the FLSA § 7, 29 U.S.C. § 207, liquidated damages as provided by 29

             U.S.C. § 216, pre-judgment interest on unpaid wages pursuant to 29

             U.S.C. § 216, and court costs, expert witness fees, reasonable

             attorneys’ fees as provided under FLSA § 16 and all other remedies

             allowed under the FLSA;

      (c)    That Plaintiff recover her reasonable attorneys’ fees and costs from

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            Defendants incurred in bringing this action;

      (d)   Grant Plaintiff a trial by jury as to all triable issues of fact; and

      (e)   For all other such relief as is deemed just and proper

Respectfully submitted, this 13th day of December, 2013.

                                        THE SHARMAN LAW FIRM LLC

                                        /s/ Paul J. Sharman
                                        PAUL J. SHARMAN
                                        Georgia State Bar No. 227207

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